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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                        Plaintiff,                                  8:16CR142

       vs.                                              FINAL ORDER OF FORFEITURE

JOSE MARTINEZ-PENA,


                        Defendant.




       This matter comes on before the Court upon the United States= Motion for Final Order of

Forfeiture (Filing No. 79). The Court reviews the record in this case and, being duly advised in

the premises, finds as follows:

       1. On October 12, 2016, the Court entered a Preliminary Order of Forfeiture Nunc Pro

Tunc (Filing No. 65), pursuant to the provisions of Title 21, United States Code, Sections 841 and

853 based upon the Defendant=s plea of guilty to Count I and the Forfeiture Allegation of the

Information filed herein. By way of said Preliminary Order of Forfeiture Nunc Pro Tunc, the

Defendant=s interest in the 2013 Dodge Ram 3500 Crew Cab SLT, VIN 3C63RRHL4DG613589

was forfeited to the United States.

       2. Notice of Criminal Forfeiture was posted on an official internet government forfeiture

site, www.forfeiture.gov, for at least thirty consecutive days, beginning on October 13, 2016, as

required by Rule G(4)(a)(iv)(C) of the Supplemental Rules for Admiralty or Maritime Claims

and Asset Forfeiture Actions. A Declaration of Publication was filed herein on December 13,

2016 (Filing No. 78).
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       3. The Court has been advised by the United States no Petitions have been filed. From a

review of the Court file, the Court finds no Petitions have been filed.

       4. The Plaintiff=s Motion for Final Order of Forfeiture should be sustained.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED as follows:

       A. The Plaintiff=s Motion for Final Order of Forfeiture is hereby sustained.

       B.    All right, title and interest in and to the 2013 Dodge Ram 3500 Crew Cab SLT, VIN

3C63RRHL4DG613589 held by any person or entity are hereby forever barred and foreclosed.

       C. The aforementioned property described above, be, and the same hereby is, forfeited to

the United States of America.

       D. The United States is directed to dispose of said property in accordance with law.

       DATED this 16th day of December, 2016.


                                              BY THE COURT:



                                              __s/ Joseph F. Bataillon________________
                                              JOSEPH F. BATAILLON
                                              Senior United States District Judge




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